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                          FOREMOST GROUPS, INC. f/k/a
                     12   FOREMOST INTERNATIONAL TRADING
                          CO., INC.
                     13
                                                   UNITED STATES DISTRICT COURT
                     14
                                              CENTRAL DISTRICT OF CALIFORNIA
                     15

                     16
                          FOREMOST GROUPS, INC. f/k/a             Case No. 2:14-cv-00188 SVW (RZx)
                     17   FOREMOST INTERNATIONAL                  Hon. Stephen V. Wilson
                          TRADING CO., INC.,                      Courtroom 6
                     18
                                      Plaintiff,                  SECOND AMENDED COMPLAINT
                     19
                                vs.
                     20                                           Jury Trial Demanded
                          TANGSHAN AYERS BATH
                     21   EQUIPMENT CO., LTD.,
                     22               Defendant.
                     23

                     24

                     25         Plaintiff Foremost Groups, Inc. f/k/a Foremost International Trading Co., Inc.
                     26   (collectively, “Foremost” or “Plaintiff”), as and for its Second Amended Complaint
                     27

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                      1   against Defendant Tangshan Ayers Bath Equipment Co., Ltd. (“Tangshan Ayers” or
                      2   “Defendant”), hereby complains and alleges as follows:
                      3                                          PARTIES
                      4         1.     Foremost is a corporation incorporated in and existing under the laws
                      5   of the State of New Jersey and maintains an address at 906 Murray Road,
                      6   East Hanover, New Jersey 07936.
                      7         2.     Upon information and belief, Tangshan Ayers is a Chinese company
                      8   with its principal place of business located in Tangshan, Hebei, China 06637.
                      9                             JURISDICTION AND VENUE
                     10         3.     Jurisdiction exists pursuant to 28 U.S.C. § 1332 because complete
                     11   diversity of citizenship exists between Foremost and Tangshan Ayers.
                     12         4.     The amount in controversy, exclusive of interest and costs,
                     13   exceeds $75,000.
                     14         5.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)
                     15   because a substantial part of the events or omissions giving rise to Foremost’s
                     16   claims occurred in this district.
                     17                               FACTUAL BACKGROUND
                     18         6.     Foremost is a leader in the manufacturing of high-quality furniture and
                     19   vitreous china including toilets, bathroom vanities, bath accessories, home and
                     20   office furniture, patio and kids’ furniture as well as original equipment
                     21   manufacturer (“OEM”) and food service equipment.
                     22         7.     Since its founding in 1988, Foremost has developed four product
                     23   divisions (Bathroom Furniture, Outdoor Furniture, Indoor Furniture and Food
                     24   Service Equipment) that produce world-class goods that offer superior design,
                     25   engineering and value for consumers and industry.
                     26         8.     Foremost does not sell its products directly to the public. Rather,
                     27   Foremost develops regional distribution networks of dealers in specifically
                     28   researched and targeted, high-volume retail home centers, hardware stores and
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                      1   kitchen and bath showrooms throughout the United States and Canada, including
                      2   Lowe’s, Home Depot, HD Supply and Menards.
                      3         9.       The strategy of Foremost for developing and maintaining regional
                      4   networks of dealers is to provide each dealer with products that surpass all
                      5   competitors in key aspects including, but not limited to, price, style, warranty
                      6   and quality.
                      7         A.       Foremost’s Exclusive Distribution Agreement
                      8         10.      Foremost believed that there was a significant market opportunity in
                      9   the United States and Canada for the sale of bathroom and sanitary porcelain
                     10   products manufactured by Tangshan Huida Ceramic Group Co., Ltd. (“Huida”) in
                     11   China. After discussions and negotiations, Huida and Foremost endeavored to
                     12   pursue the successful introduction and promotion of Huida’s bathroom and sanitary
                     13   porcelain products in the United States and Canada.
                     14         11.      On October 20, 2000, Huida executed a binding contract with
                     15   Foremost granting Foremost the exclusive right to distribute Huida bathroom and
                     16   sanitary porcelain products and toilet parts in the United States and Canada (the
                     17   “Exclusive Distribution Agreement”).
                     18         12.      Pursuant to the Exclusive Distribution Agreement, Huida granted
                     19   Foremost the exclusive right to distribute all products manufactured by Huida,
                     20   including toilets and kitchen and bathroom sinks, in the United States and Canada.
                     21         13.      Since the execution of the Exclusive Distribution Agreement,
                     22   Foremost has been the exclusive distributor of Huida’s products, including toilets
                     23   and kitchen and bathroom sinks.
                     24         B.       Tangshan Ayers’s Formation and Operation of Ayers
                     25         14.      Ayers Bath (U.S.A.) Co., Ltd (“Ayers”) was incorporated in California
                     26   in March 2010.
                     27         15.      Ayers is a wholly owned and controlled subsidiary of Tangshan Ayers.
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                      1         16.    Tangshan Ayers owns one-hundred (100%) percent of the shares
                      2   of Ayers.
                      3         17.    There is substantial overlap of the directors and officers of Tangshan
                      4   Ayers and Ayers.
                      5         18.    Yan Qing Wang, the President of Tangshan Ayers, is a Director
                      6   of Ayers.
                      7         19.    Upon information and belief, Huazhong Dong, a Director of Ayers, is
                      8   also a Director of Tangshan Ayers.
                      9         20.    Junkuan (Peter) Yao, the President of Ayers, is Sales Manager for
                     10   Tangshan Ayers.
                     11         21.    Meng Liang (Charles Wang), the Chief Financial Officer of Ayers, is
                     12   Director of Sales for Tangshan Ayers.
                     13         22.    Foremost is informed and believes, and on the basis of that
                     14   information and belief alleges, that there exists, and at all times mentioned herein
                     15   there existed, a unity of interest and ownership between Tangshan Ayers and Ayers,
                     16   such that any individuality and separateness between Tangshan Ayers and Ayers
                     17   have ceased, and Ayers is, and was, the alter ego of Tangshan Ayers in that:
                     18                a.     Tangshan Ayers commingled funds and other assets of Ayers
                     19                       and used Ayer’s funds and other assets for its own purposes and
                     20                       to assist in evading payment of obligations;
                     21                b.     Tangshan Ayers diverted funds and other assets of Ayers for
                     22                       other than corporate uses;
                     23                c.     Tangshan Ayers treated the assets of Ayers as its own;
                     24                d.     At all times mentioned herein Tangshan Ayers controlled,
                     25                       dominated and operated Ayers as its alter ego and carried out the
                     26                       activities and business of Ayers without holding directors or
                     27                       shareholders’ meetings, without maintaining records or minutes
                     28                       of any corporate proceedings;
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                      1               e.     Tangshan Ayers failed to adequately capitalize Ayers in light of
                      2                      the business Ayers was conducting and the risk of loss it
                      3                      potentially faced from litigation arising from its import,
                      4                      marketing and sale of Huida products. Upon information and
                      5                      belief, Tangshan Ayers provided Ayers with start-up capital in
                      6                      the amount of $200,000. Compared with the liability it faced for
                      7                      its tortious conduct towards Foremost, Ayers’s capitalization
                      8                      was grossly insufficient;
                      9               f.     Ayers is, and at all times mentioned herein was, a mere shell,
                     10                      instrumentality and conduit through which Tangshan Ayers
                     11                      carried on its business in the corporate name, exercising
                     12                      complete control and dominance of such business to such an
                     13                      extent that any individuality and separateness between Tangshan
                     14                      Ayers and Ayers do not, and at all times mentioned herein did
                     15                      not, exist; and
                     16               g.     Tangshan Ayers used Ayer’s corporate status merely as a shield
                     17                      against liability for its unfair competition and tortious
                     18                      interference with Foremost by virtue of its import, marketing
                     19                      and sale of Huida products through Ayers by substituting a
                     20                      financially insolvent corporation in place of Tangshan Ayers;
                     21                      and
                     22               h.     Tangshan Ayers diverted assets from Ayers, including Ayer’s
                     23                      revenues from 2010, 2011 and 2012, to Tangshan Ayers to the
                     24                      detriment of Foremost, who has been unable to collect its $5.265
                     25                      million judgment from Ayers.
                     26         23.   Adherence to the fiction of the separate existence of Ayers as an entity
                     27   distinct from Tangshan Ayers would permit an abuse of the corporate privilege and
                     28   would sanction fraud in that Foremost is informed and believes that:
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                      1               a.     Tangshan Ayers formed Ayers to import, market and sell Huida
                      2                      products in the United States in an attempt to unjustly compete
                      3                      with Foremost and tortuously interfere with Foremost’s
                      4                      prospective economic advantage;
                      5               b.     Tangshan Ayers intended to use Ayers as a device to avoid
                      6                      personal liability by substituting a financially insolvent
                      7                      corporation in place of Tangshan Ayers;
                      8               c.     Tangshan Ayers caused Ayers to file for bankruptcy with the
                      9                      intent of frustrating Plaintiff’s prosecution of the Ayers
                     10                      Litigation; and
                     11               d.     Tangshan Ayers transferred the personal property and assets of
                     12                      Ayers, including Ayer’s revenues from 2010, 2011 and 2012, to
                     13                      Tangshan Ayers with the actual intent to hinder, delay or
                     14                      defraud Plaintiff in the collection of its claim.
                     15         C.    Tangshan Ayers’s Unlawful Conduct
                     16         24.    Ayers is a distributor of sanitary ware products, including toilets and
                     17   bathroom sinks. Ayers also operates and offers its products under the
                     18   Dofiny brand.
                     19         25.   Upon information and belief, Tangshan Ayers formed Ayers to market
                     20   and distribute Huida-manufactured products in the United States, such as toilets and
                     21   bathroom sinks, despite Tangshan Ayers’ knowledge of the existence of the
                     22   Exclusive Distribution Agreement between Foremost and Huida.
                     23         26.   In 2011, Foremost learned that Tangshan Ayers, through Ayers, had
                     24   been approaching retail stores, wholesale channel and regional dealers in the United
                     25   States and offering Huida products for sale.
                     26         27.   On April 21, 2011, by way of letter, Foremost formally notified Ayers
                     27   that, by importing products manufactured by Huida and making those products
                     28   available customers of Foremost, Ayers was infringing on Foremost’s exclusive
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                      1   right of distribution with Huida with respect to bathroom and sanitary products in
                      2   the United States and Canada.
                      3         28.    Foremost informed Ayers that Ayers’s conduct undercut Foremost’s
                      4   business relationships and damaged the good will that Foremost has developed for
                      5   more than a decade in its intangible assets, including, but not limited to, customer
                      6   relationships and market positions.
                      7         29.    Foremost informed Ayers that Ayers’s failure to immediately cease all
                      8   sales, service and marketing activity would result in Foremost filing a lawsuit and
                      9   seeking a restraining order to immediately discontinue Ayers’s operations as they
                     10   relate to Huida products.
                     11         30.    Ayers failed to respond until July 2011, at which time it simply denied
                     12   purchasing products from Huida and asserted that “[Foremost’s] accusation that
                     13   [Ayers] interferes with [the Exclusive Distribution Agreement] is absurd.”
                     14         31.    Following Ayers’ receipt of the letter, Tangshan Ayers, though Ayers,
                     15   continued to interfere and threaten Foremost’s contractually exclusive pursuit of its
                     16   North American distributorship of Huida bathroom and sanitary porcelain products
                     17   by contacting and offering to Foremost’s current and prospective business partners
                     18   in the United States and Canada sanitary ware products manufactured by Huida.
                     19         D.     Ayers Litigation
                     20         32.    On September 12, 2011, Foremost filed a complaint against Ayers in
                     21   the United States District Court for the Central District of California (the
                     22   “California District Court”), captioned Foremost Groups, Inc. f/k/a Foremost
                     23   International Trading Co., Inc. v. Ayers Bath (USA) Corporation, Civil Action
                     24   No. CV11-7473 GAF (Ex) (the “Ayers Litigation”).
                     25         33.    Contemporaneously with the filing of the complaint, Foremost sought
                     26   a preliminary injunction barring Ayers from selling, distributing or offering for sale
                     27   Huida parts and products in the United States and Canada.
                     28
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                      1         34.   At issue in the Ayers Litigation was whether Ayers’s distribution of
                      2   Huida products interfered with Foremost’s contractual relations and prospective
                      3   economic advantage.
                      4         35.   The California District Court rejected Ayers’s argument that its toilets
                      5   differed from Foremost’s in terms of design or specifications, holding that any
                      6   differences identified by Ayers in comparison photographs were immaterial.
                      7         36.   The California District Court also noted that the toilets distributed by
                      8   Ayers contained parts clearly manufactured by Huida.
                      9         37.   The California District Court found “[s]trong evidence” that Foremost
                     10   would have continued to reap economic benefits from the Exclusive Distribution
                     11   Agreement absent Ayers’s conduct:
                     12         [Foremost’s Exclusive Distribution Agreement with Huida] generated
                     13         substantial economic benefit to Foremost for several years and plainly
                     14         contemplated probable future benefits and economic advantage to Foremost.
                     15         . . . Foremost sold Tangshan Huida porcelain goods to numerous large retail
                     16         outlets in the United States for several years and reasonably expected to
                     17         continue with such sales in the future.
                     18         38.   The California District Court further opined that Ayers’s “efforts to
                     19   undercut Foremost in the marketplace present[ed] a serious question regarding the
                     20   wrongful nature of Ayers’s conduct”:
                     21         Evidence tending to show efforts to sell product[s] to . . . [Foremost’s]
                     22         clients at any price, let alone at prices below those at which Foremost
                     23         could purchase the same item, supports an inference that Ayers[]
                     24         sought to interfere with Foremost’s agreement to act as the exclusive
                     25         distributor of Tangshan Huida products in the United States.
                     26         39.   Based on Foremost’s Exclusive Distribution Agreement and its factual
                     27   findings, the California District Court concluded that “Ayers engaged in conduct
                     28   that would defeat the very purpose of that agreement.”
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                      1         40.    On December 20, 2011, the California District Court granted
                      2   Foremost’s application for a preliminary injunction against Ayers. The Order
                      3   provides, in relevant part:
                      4         [Ayers] and its officers, agents, servants, employees, and all those in
                      5         active concert or participation with [Ayers], shall stop selling,
                      6         distributing and/or offering for sale any and all [Huida] bathroom
                      7         vitreous china and/or porcelain and sanitary ware parts and products,
                      8         including but not limited to toilets and kitchen and bathroom sinks, in
                      9         the United States and Canada in violation of Foremost’s exclusive
                     10         distribution agreement.
                     11         E.     Ayers Bankruptcy
                     12         41.    On March 22, 2013, Tangshan Ayers caused Ayers to file a voluntary
                     13   petition under chapter 7 of title 11 of the United States Code in the United States
                     14   Bankruptcy Court for the Central District of California, In re Ayers Bath (USA) Co.,
                     15   Ltd., Case No. 2:13-bk-17409-RK (the “Ayers Bankruptcy”).
                     16         42.    Ayer’s chapter 7 petition was signed by Junkuan Yao, who is Sales
                     17   Manager for Tangshan Ayers.
                     18         43.    In light of the Ayers Bankruptcy and the operation of the automatic
                     19   stay, on March 25, 2013, the California District Court entered an Order removing
                     20   the Ayers Litigation from the Court’s active caseload.
                     21         44.    In the Ayers Bankruptcy, Foremost sought to examine Ayers under
                     22   Rule 2004 of the Federal Rules of Bankruptcy Procedure and Local Bankruptcy
                     23   Rule 2004-1.
                     24         45.    On November 13, 2013, Foremost conducted a Bankruptcy Rule 2004
                     25   examination of Peter Yao and Charles Wang, officers of Ayers who are also
                     26   employees of Tangshan Ayers.
                     27         46.    Messrs. Yao and Wang were represented by counsel for
                     28   Tangshan Ayers.
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                      1         47.       Messrs. Yao and Wang ’s testimony revealed, for the first time, the
                      2   grossly inadequate capitalization of Ayers and a significant overlap of directors
                      3   and officers.
                      4         48.       On December 12, 2013, Foremost filed a proof of claim in the Ayers
                      5   Bankruptcy in an amount not less than $5,265,000 (the “Proof of Claim”).
                      6         49.       The Addendum to the Proof of Claim states that the Proof of Claim is
                      7   for damages incurred by Foremost “as a result of [Ayers’s] interference with
                      8   Foremost’s contractual relationship with Huida and Foremost’s pursuit of
                      9   prospective business advantage by [Ayers’s] importation of Huida products and
                     10   sale of those products to retail stores, wholesale channels and regional dealers in the
                     11   United States.”
                     12         50.       Neither Ayers , the chapter 7 trustee or any other party in interest,
                     13   including Tangshan Ayers, objected to Foremost’s Proof of Claim.
                     14         51.       Foremost’s Proof of Claim was deemed allowed in the amount of
                     15   $5,265,000.
                     16         52.       The Proof of Claim constitutes a final judgment pursuant to Ninth
                     17   Circuit precedent under Siegel v. Federal Home Loan Mortg. Corp., 143 F.3d 525
                     18   (9th Cir. 1998).
                     19         53.       Despite having gross revenues of $424,713 in 2010, $2,011,663 in
                     20   2011 and $158,825 in 2012, the total assets of Ayers’s bankruptcy estate were
                     21   approximately $50,000. As a result, Foremost received a distribution of $7,757.24,
                     22   or approximately 0.15% of its allowed claim.
                     23                                 FIRST CAUSE OF ACTION
                     24                                  ACTION ON JUDGMENT
                     25         54.       Foremost repeats and realleges the allegations set forth in Paragraphs 1
                     26   through 53, inclusive, as if fully set forth herein.
                     27         55.       Foremost’s Proof of Claim in the Ayers Bankruptcy was deemed
                     28   allowed in the amount of $5,265,000.
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                      1          56.    The allowance of the Proof of Claim constitutes a final judgment
                      2   against Ayers.
                      3          57.    Foremost’s judgment remains outstanding in the amount of
                      4   $5,257,242.76.
                      5          58.    At all times during the Ayers Bankruptcy, Ayers was the alter ego of
                      6   Tangshan Ayers, as alleged in Foremost’s first cause of action.
                      7          59.    At all times during the Ayers Bankruptcy, Tangshan Ayers had notice
                      8   and control of the Ayers Bankruptcy, as evidenced by, among other things,
                      9   Tangshan Ayer’s Director of Sales signing Ayer’s chapter 7 petition; Tangshan
                     10   Ayers producing two employees of Tangshan Ayers for the Bankruptcy Rule 2004
                     11   examination of Ayers; and counsel for Tangshan Ayers defending the Bankruptcy
                     12   Rule 2004 examination of Ayers.
                     13                                       PRAYER FOR RELIEF
                     14          WHEREFORE, Plaintiff prays for judgment against the Defendant
                     15   as follows:
                     16          1.     For an order of this Court finding Tangshan Ayers to be the alter ego
                     17   of Ayers;
                     18          2.     For monetary damages in an amount not less than $5,257,242.76, plus
                     19   costs and pre-judgment and post-judgment interest and attorneys fees;
                     20          3.     For exemplary damages;
                     21          4.     For an order of this Court amending the judgment against Ayers to
                     22   add Tangshan Ayers as a judgment debtor; and
                     23          5.     For a writ of execution against Tangshan Ayers;
                     24          6.     Such other relief as this Court may deem just and proper.
                     25                                       JURY DEMAND
                     26          Plaintiff, pursuant to Fed. R. Civ. P. 38(b) and L.R. 38-1, hereby demands a
                     27   trial by jury as to all issues so triable.
                     28
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    R EATH LLP                                                         11
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                      1   Dated: January 25, 2016                 DRINKER BIDDLE & REATH LLP
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                      3                                           By: /s/ Suzanne V. Stouder
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                     10                                                 FOREMOST INTERNATIONAL
                                                                        TRADING CO., INC.
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                                          SECOND AMENDED COMPLAINT AND DEMAND FOR TRIAL BY JURY
